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             UNITED STATES DISTRICT COURT DISTRICT OF CONNECTICUT


Laguerre Lensendro,

Petitioner



Experian,

Respondent



PETITION FOR RELIEF UNDER THE FAIR CREDIT REPORTING ACT (FCRA), 15 U.S.C.
                                            $ 1681 et seq.



                                     I.    NATURE OF THE CASE

    1. Petitioner, Laguerre Lensendro, brings this action against Respondent, Experian, under
       the Fair Credit Reporting Act (FCRA), 15 U.S.C. $ 1681 et seq., for willful
       noncompliance.
   2. Petitioner alleges that Respondent furnished his report on at least 299 separate occasions
       without a permissible purpose, in violation of 15 U.S.C. $ 1681b. fsee Exhibit A pgs. 21-
       271
   3. Petitioner seeks statutory damages of $1,000 per violation under 15 U.S.C. $ 168ln for
       willful noncompliance, totaling $299,000.

                               il.        JURISDICTION AND VENUE

   4. This Court has jurisdiction under 15 U.S.C. $ 1681p, which grants jurisdiction to United
       States District Courts for violations of the FCRA, and the amount in controversy exceeds
       $75,000.
   5. Venue is proper in this District as the events giving rise to this action occurred within the
       District of Connecticut, where Petitioner resides.

                                            III.   PARTIES


   6. Petitioner Laguerre Lensendro is a natural person and a resident of Norwalk, Connecticut.
       Petitioner is a "consumer" as defined by 15 U.S.C. $ 1681a(c).
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    7. Respondent Experian is a nationwide consumer reporting agency as defined under 15
           U.S.C. $ 168la(f).

                                   IV.     FACTUAL ALLEGATIONS

    8. Petitioner incorporates by reference all preceding paragraphs as if fully set forth herein.
    9. Respondent furnished Petitioner's report on299 occasions without a permissible purpose,
           as required under 15 U.S.C. $ 1681b.
    10. Respondent's repeated actions were willful in violation of the FCRA.


                                     V.     DEMAND FOR RELIEF

    11. WHEREFORE, Petitioner respectfully requests that this Court enter judgment against
           Respondent and award the following relief:
           a. Statutory damages of $299,000, representing $ 1,000 for each of the 299 violations of
              the FCRAunder 15 U.S.C. $ 1681n
           b. And any other relief the Court deems just and proper.

I verifu all herein to be true to the best of my knowledge and belief, and I demand a trial by way
of Jury.




                                                                            Respectfully presented,


                                                                               Laguerre Lensendro
                                                                                26Broad St, Apt 4
                                                                               Norwalk, CT 06851



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             Soft lnquiries
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             periodically reviewing your existing credit accounts. Soft inquiries also include checking your own
             credit report or using credit monitoring services, and have no impact on your credit score.
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